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IN THE UNITED STATES DIsTRICT CoURT FOR THE

wEsTERN DISTRICT oF TENNESSEE AT MEMPHISRO§EF§T '§ 310!§§0=¢'.?
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GREGORY BRAY,

Plaintiff,

v. No. 04-2626-Ma/P
Jury Demanded

TONY COOPER, et al.,
Defendants.

 

-|-P-RBUS'E-DFORDER GRANTING MOTION OF DEFENDANTS, TONY
COOPER, GERALD STIPANUK, M.D., AND LYLE REECE FOR
ENLARGEMENT OF TIME TO RESPOND TO PLAINTIFF’S DISCOVERY
REQUESTS

 

WHEREFORE, on or about March 28, 2005, the plaintiff served defendants
Reece, Cooper and Stipanul< (“defendants”) with interrogatory requests, respectively, and
requests for production of documents On April 22, 2005, these defendants moved this
court to enlarge the time within which they may respond to the plaintiffs discovery
requests Based upon the motion and memorandum filed in support thereof by the
defendants, it is the Court’s opinion that the defendants’ motion is well taken and should
be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the
defendants’ motion for enlargement of time to respond to the plaintiffs discovery
requests is granted and that the defendants shall have 30 days from the date of entry of

this order within Which to file their discovery responses

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with ama 58 and!or 79(3) FHCP on 02 “¢3-)

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Judge

Date:`jl@_]j&(_`

 

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sSSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

